 Fill in this information to identify the case:

 Debtor 1               Charlene R House
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Middle                           PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        24-00941
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                            12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Santander Bank, N.A.
 Name of creditor: _______________________________________                                                           5
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          7 ____
                                                         ____ 2 ____
                                                                0 ____
                                                                     5                   Must be at least 21 days after date       11 16 24
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          1184.70
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                           New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
       No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)
                                      number of days in the month changes the amount due
                   Reason for change: ___________________________________________________________________________________
                                               1208.83
                   Current mortgage payment: $ _______________                                                 1184.70
                                                                                       New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1

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Debtor 1
                  Charlene R House
                 _______________________________________________________
                                                                                                                   24-00941
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



    _____________________________________________________________
     Signature
                                                                                               Date
                                                                                                       10 28      2024
                                                                                                       ____/_____/________



                                                                                                       Bankruptcy Administrator
                     Melissa A. Epler
 Print:             _________________________________________________________                  Title   ___________________________
                    First Name                      Middle Name         Last Name



 Company
                     Santander Bank, N.A.
                    _________________________________________________________


                     450 Penn Street
 Address            _________________________________________________________
                    Number                 Street

                    Reading                            PA        19602
                    ___________________________________________________
                    City                                                State       ZIP Code


                      484        512      3552                                                         DeftBkr@santander.us
 Contact phone      (______) _____– _________                                                  Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2

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Case 1:24-bk-00941-HWV   Doc Filed 10/28/24 Entered 10/28/24 10:28:04   Desc
                         Main Document   Page 3 of 4
                            UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA
In Re:                                                 Chapter #13
         Charlene R House                              Case No. 24-00941
                                                       Honorable Henry W Van Eck
Debtor
____________________________________________/

                                  CERTIFICATE OF SERVICE

        I, Melissa A. Epler of Santander Bank, N.A., do hereby certify that on October 28, 2024, I
caused to be served a copy of the Notice of Payment Change on the service list below by having a
copy of the same mailed by first class mail, postage prepaid or other method specified on service list.
        Signed under the penalties of perjury, this 28th day of October 2024.




                                                               _______________________________
                                                               Melissa A. Epler
                                                               Santander Bank, N.A.
                                                               Bankruptcy Administrator
                                                               450 Penn Street
                                                               Reading, PA 19602
                                                               (484) 512-3552
                                                               Email: DeftBkr@santander.us



VIA US MAIL
CHARLENE R HOUSE
2701 N 5TH ST
HARRISBURG, PA 17110-2015

VIA ECF
JACK N ZAHAROPOULOS
8125 ADAMS DR STE A
HUMMELSTOWN, PA 17036-8625

MICHAEL A CIBIK
HELP@CIBIKLAW.COM




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